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KTF:BT
F. #2024R00934

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                  COMPLAINT

            - against -                                   (18 U.S.C. § 2199)
                                                            24 MJ 645
SVETLANA DALI,                                              Magistarte Judge Robert Levy
                          Defendant.

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EASTERN DISTRICT OF NEW YORK, SS:

               IAN S. CRYSTAL, being duly sworn, deposes and states that he is a Special

Agent with the Federal Bureau of Investigation, duly appointed according to law and acting as

such.

               On or about November 26, 2024, within the Eastern District of New York and

elsewhere, the defendant SVETLANA DALI did knowingly and with intent to obtain

transportation board, enter, and secrete herself aboard an aircraft, to wit, Delta flight number

DL264 departing from John F. Kennedy International Airport (“JFK”) in Queens, New York to

Charles de Gaulle Airport in Paris, France, without the consent of the owner, charterer, master,

and person in command of such aircraft, and was thereon at the time of departure of said aircraft

from an airport within the jurisdiction of the United States.

               (Title 18, United States Code, Section 2199)
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               The source of your deponent’s information and the grounds for his belief are as

follows:1

               1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have been since 2010. I am currently assigned to the FBI’s JFK Field Office, where I am on the

Joint Terrorism Task Force and investigate crimes occurring on aircraft, among other crimes.

JFK is in Queens, New York, which is within the Eastern District of New York.

               2.      I am familiar with the facts and circumstances set forth below from my

participation in the investigation; my review of the investigative file, including security footage

from JFK; and from reports of other law enforcement officers involved in the investigation.

Statements attributable to individuals referenced herein are set forth in sum and substance and in

part.

                                      PROBABLE CAUSE

               3.      On or about November 26, 2024, the defendant SVETLANA DALI snuck

onto Delta Airlines flight DL264 at JFK without a boarding pass and flew as a stowaway to

Charles de Gaulle Airport in Paris.

               4.      I have reviewed surveillance footage from JFK, which shows that the

defendant SVETLANA DALI arrived at JFK Terminal 4 at approximately 8:13 p.m. on or about

November 26, 2024. At approximately 8:24 p.m., DALI attempted to get in line at the

Transportation Security Administration (“TSA”) security checkpoint in Terminal 4 but was

turned away by a TSA official after she was unable to show a boarding pass.




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               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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               5.     At approximately 8:29 p.m., the defendant SVETLANA DALI again

attempted to get in line at the TSA security checkpoint in Terminal 4. This time, DALI

successfully accessed the line without a boarding pass by entering through a special lane for

airline employees masked by a large Air Europa flight crew. DALI was subsequently screened

by TSA alongside ticketed airline passengers.

               6.     After being screened by TSA, the defendant SVETLANA DALI walked to

gate B38, where she boarded Delta flight number DL264 at approximately 10:03 p.m. without

presenting a boarding pass. Delta agents, who were busy helping ticketed passengers board, did

not stop her or ask her to present a boarding pass before she boarded the plane.

               7.     Delta flight number DL264 departed JFK with the defendant SVETLANA

DALI on it at 10:37 p.m. Before the plane landed at Charles de Gaulle Airport, Delta

employees realized that DALI was onboard the plane without their consent. Upon realizing this,

the employees asked DALI for her boarding pass, which she was unable to provide. Before the

flight landed, Delta employees notified French law enforcement that DALI was on the plane as a

stowaway.

               8.     When the plane landed at Charles de Gaulle Airport on or about

November 27, 2024, French law enforcement met the defendant SVETLANA DALI at the gate.

After determining that DALI did not have a passport or boarding pass with her, they detained her

before she entered customs.

               9.     On December 4, 2024, the defendant SVETLANA DALI flew back to

JFK from Charles de Gaulle Airport. Upon DALI’s arrival at JFK, law enforcement escorted

her from the gate to an interview room at the airport, where I interviewed her with other law

enforcement agents.
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               10.    During her interview, the defendant SVETLANA DALI admitted to flying

as a stowaway on Delta flight number DL264. Among other things, she stated that she did not

have a plane ticket and that she intentionally evaded TSA security officials and Delta employees

so that she could travel without buying one, including by looking for opportunities to circumvent

them when she knew they would ask for her boarding pass. When I showed DALI images from

airport security footage that depicted her bypassing TSA officials and Delta employees who were

supposed to check for her boarding pass, she confirmed that the images were of her. She also

stated that she knew her conduct was illegal.

               WHEREFORE, your deponent respectfully requests that the defendant

SVETLANA DALI, be dealt with according to law.



                                                IAN S. CRYSTAL
                                                Special Agent, Federal Bureau of Investigation

Sworn to before me this
__ day of December, 2024


____________________________________________
THE HONORABLE ROBERT M. LEVY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
